

People v Hatten (2024 NY Slip Op 06551)





People v Hatten


2024 NY Slip Op 06551


Decided on December 24, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 24, 2024

Before: Kern, J.P., Singh, Gesmer, Pitt-Burke, O'Neill Levy, JJ. 


Ind. No. 72908/22 Appeal No. 3324 Case No. 2023-03244 

[*1]The People of the State of New York, Respondent,
vDaeshawn Hatten, Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (David J. Klem of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Maria I. Wager of counsel), for respondent.



Appeal from judgment, Supreme Court, Bronx Counry (Guy H. Mitchell, J.), rendered May 31, 2023, convicting defendant, upon his plea of guilty, of criminal possession of a weapon in the fourth degree, and sentencing him to a term of 2 years probation, unanimously dismissed as moot.
This appeal, claiming excessiveness of sentence, is moot because defendant's probationary sentence was terminated and he was resentenced to a six-month jail term, which he has completed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 24, 2024








